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          EXPERT REPORT OF CHARLES M. MOORE, CPA
 MANAGING DIRECTOR OF ALVAREZ & MARSAL NORTH AMERICA, LLC,
                RESTRUCTURING ADVISOR TO
 THE ROMAN CATHOLIC DIOCESE OF ROCKVILLE CENTRE, NEW YORK




                                                                          MOORE
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I.       INTRODUCTION

         A.      Scope of Engagement

             I am a Managing Director of Alvarez & Marsal North America, LLC (“A&M”), a
     financial consulting firm that provides global leadership, problem solving and value creation
     for organizations across industries and around the world. A&M was initially engaged as a
     restructuring advisor by The Roman Catholic Diocese of Rockville Centre, New York (the
     “Debtor” or the “Diocese”) on December 14, 2018. A&M was formally retained in the
     Diocese’s chapter 11 case on November 4, 2020 nunc pro tunc to October 1, 2020. Since then,
     A&M personnel providing services to the Debtor have worked closely with the Debtor’s
     management and other professionals in assisting with the myriad requirements of this chapter
     11 case.

             As the lead Managing Director at A&M responsible for this engagement, I have become
     familiar with the Diocese’s day-to-day operations, financial affairs, and books and records
     through review of certain financial documents, discussions with the Diocese’s management, and
     discussions with the Diocese’s other professionals. I worked with the Debtor’s senior
     management on the operational and financial outlook for the Debtor’s business and the
     formulation of various restructuring alternatives. This included working with the Bishop, Vicar
     General, Chief Operating Officer and General Counsel, Chief Financial Officer, other
     employees of the Debtor, the Debtor’s counsel, and other engaged professionals to develop
     restructuring and strategic alternatives, to plan activities necessary to implement such options,
     and to present such findings and recommendations to creditor constituents and other key
     stakeholders in this case. All services and activities performed in connection with this
     engagement were either performed by me or under my supervision by employees of A&M.

         B.      Qualifications of Charles M. Moore

             I have over twenty-five years of experience providing turnaround consulting and
     advisory services to organizations in a variety of industries. I have substantial knowledge and
     experience serving in senior management positions and as a restructuring advisor in large
     reorganizations and in assisting troubled organizations with stabilizing their financial condition,
     analyzing their operations, and developing an appropriate business plan to accomplish the
     necessary restructuring of their operations and finances. I have served as a restructuring advisor
     to, among others, Stanadyne LLC, FirstEnergy Solutions, Noranda Aluminum, and the City of
     Detroit in their bankruptcy proceedings, along with numerous other organizations outside of
     bankruptcy, including multiple Catholic Dioceses. I have experience working with companies
     in a variety of industries, including energy, automotive, manufacturing, hospitality, and gaming.




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        I have been involved in developing and assessing business plans and financial
projections in over a hundred matters throughout my career. I have won numerous awards for
my work in turning around organizations and helping them become more efficient.

        I received my bachelor’s degree and MBA from Michigan State University and I am a
Certified Public Accountant, a Certified Turnaround Professional, and I am certified in Financial
Forensics. Prior to joining A&M, I was a Senior Managing Director at Conway MacKenzie,
Inc., served as Chief Financial Officer of Horizon Technology Group, and began my career in
the Management Solutions & Services consulting group at Deloitte & Touche. I am also a past
President and former member of the Board of Directors for the Detroit Chapter of the
Turnaround Management Association. In 2008, I was honored by Crain’s Detroit Business
through selection to the class of “40 Under 40” and in 2006, I was named one of twelve ‘People
to Watch – Business Professionals Making Their Mark’ by Turnarounds & Workouts.

        I hold memberships in the Turnaround Management Association, American Bankruptcy
Institute, American Institute of Certified Public Accountants and Michigan Institute of Certified
Public Accountants.

       Attached as Exhibit A are my Curriculum Vitae and listing of publications I have
authored in the previous ten years.

    C.      Prior Testimony

        I previously provided declarations in this case including (i) a declaration in support of
the Debtor’s motion for entry of an order authorizing the Debtor to continue its gift annuity
program, (ii) a declaration in support of the Debtor’s motion for authorizing the private sale of
certain real property free and clear of liens, claims, interests, and encumbrances (iii) two
separate declarations in support of the Debtor’s motion for a preliminary injunction, (iv) a
declaration in support of chapter 11 petition and first day pleadings, (v) a declaration in support
of the Debtor’s objection to the motion of the official committee of unsecured creditors pursuant
to bankruptcy rule 2004 directing the Debtor to produce electronically stored accounting
information, (vi) written direct testimony in support of the Debtor’s motion for a preliminary
injunction and (vii) an affidavit filed in support of a motion for a stay pending appeal of the
Diocese’s motion to dismiss several state court Child Victims Act (“CVA”) cases pending prior
to the Diocese’s bankruptcy filing. I also provided deposition testimony in support of the
Debtor’s Motion for a Preliminary Injunction.

       Refer to Exhibit B for a listing of other cases where I have testified as an expert or fact
witness at trial or by deposition.




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          D.      Report Qualifications

              The information in this report is presented as of the date of this report. The opinions and
      conclusions expressed herein are subject to change based on additional data, facts and
      information that may be received subsequent to the date of this report. In addition, it is possible
      that I may be asked at a future date to review and respond to a report issued by any expert(s)
      retained by other parties in interest related to the motion filed by the Official Committee of
      Unsecured Creditors (“UCC”) seeking dismissal of this chapter 11 case (the “Motion”).

          E.      Materials Considered in Reaching Opinions

              Attached as Exhibit C is a listing of the materials I considered in reaching my opinions.
      I also considered discussions with the Debtor’s employees, as well as the Debtor’s third-party
      consultants and advisors.

          F.      Statement of Compensation

             A&M is being compensated for my work at a rate of $1,325 per hour plus any out-of-
      pocket expenses. Additionally, A&M receives compensation for actual hours incurred for staff
      working under my direction at hourly rates ranging from $300 to $1,325, plus any out-of-pocket
      expenses.

II.       EXPERT OPINIONS

      OPINION #1 - Dismissal of the chapter 11 case will result in a lower recovery for many
      creditors than a confirmed plan of reorganization, making a plan of reorganization a
      better outcome for creditors than dismissal.



          A.      Value of the Debtor’s Assets Outside of Chapter 11

               If the Motion is granted, there would not be a confirmed plan of reorganization and, as
      such, the Debtor would incur certain costs that it would not incur under a confirmed plan of
      reorganization. Further, there would be no new contributions coming into the estate from third
      parties that could be used to satisfy claims against the Debtor. Since no contributions to the
      estate would be made outside a confirmed plan of reorganization and some claimants will be
      unable to pursue claims against third parties, creditors will face lower recoveries upon dismissal
      than under a plan of reorganization. To estimate the value of the Debtor’s assets that may be
      available to claimants if the case is dismissed, I prepared a liquidation analysis of the Debtor.
      A liquidation analysis is a process used to estimate the value of a debtor’s assets and the
      proceeds that could be generated in the event of a liquidation. While it is not expected that the
      Debtor would be liquidated if the case is dismissed, the liquidation analysis is a reasonable

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proxy for the value of assets that could be available for claimants that successfully pursue claims
against the Diocese outside of chapter 11.

    B.       Liquidation Analysis Assumption Overview

            1.      All of the assets of the Diocese were identified, including tangible assets
                    such as property, plant, and equipment, as well as other assets such as the
                    hospital recoverable and amounts due from other entities.

            2.      The value of each asset was then adjusted for (i) expected changes in the
                    balance of the asset between February 28, 2023 (the date of the most
                    recently available balance sheet) and May 31, 2023 (the “Liquidation
                    Date”) and (ii) any impact to the asset that may render it fully or partially
                    unavailable for sale (e.g., restricted cash is removed from the cash balance
                    used to determine the liquidation value of cash available to pay unsecured
                    creditors in a dismissal).

            3.      The liquidation value of each asset was estimated using high, medium and
                    low scenarios. The liquidation value is the amount of proceeds that may be
                    generated in the event of a sale or liquidation of the asset. Given the
                    circumstances of a sale in this scenario, the assumption is made that the
                    respective asset values will be less than the market values of the assets if
                    sold in the ordinary course due to timing and constraints on the ability to
                    market or negotiate the sale.

            4.      The outstanding amount of any secured debt associated with that asset is
                    then deducted from the liquidation value of each asset. This determines the
                    remaining amount of proceeds that could be utilized from the sale of the
                    asset.

            5.      Chapter 11 administrative claims are then subtracted from the net proceeds
                    available after payment of secured debt.

            6.      The costs associated with the liquidation process, such as wind down
                    expenses, claims processing costs, litigation costs, and broker fees were
                    estimated.

            7.      The estimated costs are deducted from the total liquidation value to
                    determine the potential net proceeds available for distribution to creditors
                    who are successful in pursuing claims against the Debtor. I have assumed




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                    that the Debtor’s statutory workers compensation obligations would be
                    satisfied from assets dedicated to such program.

        I have assumed that the liquidation would occur over an approximately nine-month time
period. This assumption is consistent with assumptions utilized for hypothetical liquidation
analyses in other chapter 11 cases. In the Debtor’s view, nine months is the minimum time
period that would be required to complete the sale of substantially all of the Debtor’s
unrestricted assets, monetize and collect receivables and other unrestricted assets of the Debtor,
dispose of its wholly-owned non-debtor captive insurance company, Ecclesia Assurance
Company (“Ecclesia”), and administer and wind-down the estate. The analysis assumes that the
liquidation process would begin immediately after dismissal, with minimal employee and
operating costs continuing during the liquidation process. The Debtor’s assets and Ecclesia
would be marketed on an accelerated timeline, and asset sales would generally occur within the
nine-month wind-down period. Asset values in the liquidation process are assumed to be driven
by, among other factors: the accelerated time frame in which the assets are marketed and sold,
loss of key personnel, negative public sentiment, and damage to the Debtor’s brand; and the
general forced nature of the sale.

    1. Liquidation Proceeds

           a. Cash and Cash Equivalents – Represents Cash and Cash equivalents of the
              Debtor as of the Liquidation Date based on the Debtor’s most recent financial
              projections which are included in section B under Opinion #2 in this report,
              segregated between restricted and unrestricted balances. Restricted cash
              balances generally reflect donor-imposed restrictions on use and disposition and
              accordingly such amounts are excluded from the Liquidation Proceeds
              (restricted cash at PSIP includes the $7.6mm deposited with the State of New
              York on account of the Debtor’s workers’ compensation liabilities). The Debtor
              estimates a 100% recovery on the unrestricted cash balances.

           b. Investments – Represents investments of the Debtor as of the Liquidation Date
              based on the Debtor’s most recent financial projections, segregated between
              restricted and unrestricted. Restricted investment balances reflect donor-
              imposed restrictions on use and disposition and accordingly such amounts are
              excluded from the Liquidation Proceeds. The Debtor estimates a 100% recovery
              on unrestricted investments.

           c. Accounts Receivable – Accounts receivable are comprised of invoiced and
              accrued third party receivables, including receivables from the parishes, and
              other non-trade receivables. Accounts Receivable is presented based on the
              Debtor’s most recent financial statements and is adjusted for amounts assumed
              to be uncollectable which include (i) amounts owed to the Diocese by parishes
              (e.g. Cathedraticum and insurance premiums), (ii) restricted accounts receivable
              (e.g. Non-School Assessments), and (iii) reimbursements owed to the Diocese
              by reinsurers and Catholic Health Services for claims to be paid by the Diocese
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              in the future. Certain of the above Accounts Receivables do not have a
              contractual basis. Estimated recovery percentages for the adjusted balance of
              accounts receivable are between approximately 25% and 50% based on the
              estimated amount an arm’s length purchaser or a collections firm would pay for
              such Accounts Receivable.

        d. Contributions Receivable – Contributions receivables reflect unconditional
           donor pledges at face value. As the pledges are both donor-restricted and highly
           unlikely to be enforceable in a liquidation they are valued at zero. Additional
           pledges not reflected on the financial statements are conditional and thus could
           not be collected in a liquidation.

        e. Prepaid Expenses – Primarily comprised of insurance premiums, professional
           fees, and deferred expenses. Prepaids are presented based on the Debtor’s most
           recent financial statements. Prepaid insurance recoveries are estimated to be $0
           based on the minimum earned premium included in the Diocese’s insurance
           agreements with third party insurers. Prepaid professional fees are assumed to
           be recovered 100% and applied against administrative professional fee claims in
           a liquidation scenario. Deferred expenses are recovered at 0% of current
           financial statement balances given that they will be significantly depleted by the
           time a liquidation is completed.

        f. Due from Other Entity – Interfund receivables are comprised of amounts due
           to/from primarily the Diocese’s pension plan, medical plan, PSIP, Propagation
           of the Faith and other restricted funds. Due from balances not related to intra-
           Debtor balances are assumed to be recovered at 100%. Amounts owed from one
           Debtor fund to another Debtor fund are consolidated and eliminated within this
           Liquidation Analysis.

        g. Property, Plant & Equipment (net) – The remaining balance of land, building,
           and equipment, which primarily includes furniture, fixtures, capital and project
           improvements, and software and computers is estimated to be materially
           consistent with the Debtor’s most recent financial statements. Pro forma
           balances are presented net of depreciation and amortization. Total property, plant
           & equipment recoveries range from 50% to 70% of pro forma values.

        h. Spectrum Assets – the FCC Licenses and Other Assets (as described in Docket
           1537, the “Spectrum Assets”) contain contractual limitations on sale and therefore
           I have assumed a $5 - $15 million discount in the value of such assets upon a
           dismissal.

        i. Tower Assets – the liquidation analysis assumes that these assets are sold for net
           proceeds of $13.3mm.

        j. Insurance Proceeds (related to Abuse Claims) – the value of insurance assets is
           yet to be determined, and while there may be substantial additional cost to pursue
           insurance in a dismissal scenario, along with the potential of erosion of limits
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              with respect to defense costs that would not otherwise be incurred, the value of
              Insurance Proceeds is assumed to be approximately equal in a dismissal to value
              realized under a chapter 11 plan of reorganization.

        k. Insurance Reimbursable – the liquidation analysis assumes that the vast majority
           of the value of the Insurance Reimbursable is dedicated to the statutory
           obligations under the workers compensation program and, as such, would not
           result in net proceeds available to other creditors.

        l. Hospital Receivable on Unpaid Losses – the liquidation analysis assumes that
           the vast majority of the value of the Hospital Receivable on Unpaid Losses is
           dedicated to the statutory obligations under the workers compensation program
           and, as such, would not result in net proceeds available to other creditors.

        m. Other Assets – Other assets are primarily comprised of lease assets recorded due
           to a recent accounting pronouncement ($3.2 million) (which are assumed to have
           no value in a liquidation) and property held for future parish sites ($847,000)
           which are valued at cost. On a weighted average basis, the Other Assets are
           assumed to be recovered at 80% ($870,000) which reflects the cost of the
           property held for future parish sites and de minimis value recovered from other
           assets with a book value of approximately $250,000.


                  i. Ecclesia – There is uncertainty with respect to monetization of Ecclesia
                     in a chapter 11 plan and in a dismissal scenario. While there is some
                     prospect for a dividend through a consensual chapter 11 plan of
                     reorganization, there is no clear path to monetization in dismissal except
                     for perhaps through a loss portfolio transfer to a third party. The outcome
                     is likely similar in both situations, but that is a conservative assumption.

        n. Summer Parishes and CFN Studio – these assets, some of which were added to
           the Debtor’s schedules of assets in July 2021, represent assets used by other
           entities but which remain in the name of the Diocese. The assumed value of
           these assets is based on an estimate provided by the UCC and the assumed
           realized value is between 50 – 70% in a liquidation scenario.

        o. Other Litigation Assets – The monetization of certain fraudulent transfer claims
           against the Seminary, Cemeteries, and Department of Education may be
           pursued. Each potential asset subject to litigation recoveries would need to be
           pursued by each individual claimant for fraudulent transfer claims on account of
           the claimant’s claim against the Diocese. Such litigation, which could be
           comprised of hundreds of lawsuits, would diminish the recoverable value
           available to each subsequent claimant that pursues those same fraudulent
           transfer claims. The diminution of value associated with defense costs and
           structural impediments to monetization is assumed to be 75% of the Diocese’s
           assumed value of such assets in the Low dismissal scenario. A 75% discount to

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              the UCC’s assumed value of such assets is used in the High dismissal scenario
              (this equates to a 48% discount to the Diocese’s assumed value). In a chapter 11,
              such assets are assumed to recover 100% of the Diocese’s value in the Low
              scenario and 100% of the UCC’s value in the High scenario.


  2. Liquidation Costs

        p. Operational Wind Down Costs – Represents an estimate of the costs incurred
           during a liquidation. Wind down costs primarily include payroll and related
           expenses, costs to maintain facilities, general liability and other Insurance
           Policies, and other base operating expenses. Operating expenses are assumed to
           reduce significantly during a liquidation to between 25% and 35% of projected
           monthly costs in a going concern scenario.

        q. Litigation Costs – assumed to be an additional $250,000 per case in defense costs
           associated with CVA suits, on top of the cost of administering claims through a
           settlement trust established as part of a chapter 11 plan of reorganization.

        r. Broker Fees – Include the estimated cost to market and dispose of substantially
           all of the Debtor’s land, building, equipment, artwork and religious artifacts. In
           the Liquidation Analysis, broker fees are estimated to be approximately 2.0% of
           gross Liquidation Proceeds from these asset classes.

        s. Administrative Expenses – comprised of expenses incurred during the post-
           petition period prior to the dismissal which would ordinarily be accorded
           administrative priority status in a bankruptcy context and are assumed to receive
           the same treatment in a dismissal based on the Motion.

               i. The Liquidation Analysis assumes that there are employee-related costs
                  which are estimated to be $1.4 million as of the Liquidation Date, comprised
                  primarily of accrued employee benefit costs. Full time salaried employees
                  are assumed to be paid current immediately prior to the Liquidation Date.

              ii. Post-Petition Professional Fees as of the Liquidation Date are estimated to
                  be $6.1 million. Post-Petition Trade Claims are estimated to be $1.1 million
                  as of the Liquidation Date based on Debtor’s most recent financial
                  projections.


              iii. Other Administrative Claims of $3.8 million relate to accrued expenses,
                   lease obligations, and funds held for others.

        t. Pension Claims – it is assumed that any withdrawal or termination liability
           associated with the Debtor’s pension obligations would share in recoveries with
           other creditors. As noted elsewhere, in a dismissal scenario, it is likely that
           recoveries will be distributed on a first come, first served basis, rather than on a
           pro rata basis.
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Dismissal Analysis

                                                                                                                 Estimated Recovery (%)                        Estimated Recovery ($000)
                                            Assumptions        Book Value          Adj. to         Pro Forma
                                             Paragraph        at 2/28/2023       Book Value        BV / FMV        Low        Mid         High                Low                 Mid                High
Assets
 Cash and Cash Equivalents                      A         $   38,879,391     $  (18,531,951)   $  20,347,439    100.0%    100.0%     100.0%      $    20,347,439     $    20,347,439     $    20,347,439
 Cash and Cash Equivalents - Restricted         A             32,688,964        (27,425,978)       5,262,986         –          –         –                    -                   -                   -
 Investments                                    B                  4,059                  -            4,059    100.0%    100.0%     100.0%                4,059               4,059               4,059
 Investments - Restricted                       B              1,317,736         (1,317,736)               -         –          –         –                    -                   -                   -
 Accounts Receivable                            C              2,120,498         (1,964,516)         155,982     25.0%     37.5%      50.0%               38,996              58,493              77,991
 Accounts Receivable - Restricted               C                959,721           (959,721)               -         –          –         –                    -                   -                   -
 Contributions Receivable                       D                774,916           (774,916)               -         –          –         –                    -                   -                   -
 Prepaid Expenses                               E              8,956,685         (7,942,555)       1,014,131    100.0%    100.0%     100.0%            1,014,131           1,014,131           1,014,131
 Due from Other Entity                          F                433,837           (106,698)         327,139     50.0%     50.0%      50.0%              163,570             163,570             163,570
 Property, Plant & Equipment (net)              G                702,588           (405,225)         297,363     50.0%     60.0%      70.0%              148,681             178,418             208,154
 Spectrum Assets                                H                      -                  -                -        NA         NA        NA                    -                   -                   -
 Tower Assets                                   I                      -         13,325,000       13,325,000    100.0%    100.0%     100.0%           13,325,000          13,325,000          13,325,000
 Insurance Proceeds (Abuse Claims) - TBD        J                      -                  -                -        NA         NA        NA                    -                   -                   -
 Insurance Reimbursable                         K             37,645,813        (41,880,138)      (4,234,325)        –          –         –                    -                   -                   -
 Hospital Receivable                            L             28,367,054        (28,367,054)               -         –          –         –                    -                   -                   -
 Other Assets Administrative Offices            M              4,293,414         (3,207,823)       1,085,592     80.0%     80.0%      80.0%              868,473             868,473             868,473
 Summer Parishes and CFN Studio                 N                      -          3,000,000        3,000,000     50.0%     60.0%      70.0%            1,500,000           1,800,000           2,100,000
 Other Litigation Assets                        O                      -         48,500,000       48,500,000     25.0%     38.6%      52.2%           12,125,000          18,725,000          25,325,000
Total Gross Liquidation Proceeds                          $ 157,144,675      $ (68,059,310)    $ 89,085,365     55.6%     63.4%      71.2%       $   49,535,349      $   56,484,583      $   63,433,817

(-) Less Dismissal Deductions
  (-) Operational Wind Down Expense             P                                                                                                $     (6,300,000)   $     (5,400,000)   $     (4,500,000)
  (-) Incremental Litigation Costs              Q                                                                                                    (162,000,000)       (162,000,000)       (162,000,000)
  (-) Broker Fees                               R                                                                                                        (990,707)         (1,129,692)         (1,268,676)
  (-) Administrative Expenses                   S                                                                                                     (12,461,162)        (12,461,162)        (12,461,162)
Total Liquidation Costs                                                                                                                          $ (181,751,869)     $ (180,990,854)     $ (180,229,838)

Total Net Dismissal Proceeds ex-Insurance and Spectrum                                                                                           $ (132,216,520)     $ (124,506,271)     $ (116,796,022)

Adjustments for chapter 11 Plan
Avoidance of Incremental Litigation Costs       Q                                                                                                    162,000,000         162,000,000         162,000,000
Pachulski Rebate                                                                                                                                       1,200,000           1,200,000           1,200,000
Other Litigation Assets                         O                                                                                                     36,375,000          56,175,000          75,975,000
Incremental Spectrum Value under a Plan         H                                                                                                     15,000,000          10,000,000           5,000,000
Adjustments under chapter 11 Plan                                                                                                                $ 214,575,000       $ 229,375,000       $ 244,175,000

Total Net Proceeds under chapter 11 Plan ex-Insurance and Spectrum                                                                                    82,358,480         104,868,729         127,378,978

Incremental Benefit of chapter 11 Plan                                                                                                               214,575,000         229,375,000         244,175,000




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       C.      Claims Against the Diocese and Date of Lawsuits Filed

         It is my understanding that approximately 150 claimants have filed a claim against the
Diocese in its chapter 11 case and have not filed CVA cases against individual parishes or other
entities in state court. Since the window for filing CVA cases has closed, a claimant that failed to
file a CVA lawsuit by August 14, 2021 will not be able to pursue its claims against those entities.
Furthermore, in a dismissal, claims will be adjudicated through the state courts. The process of
litigating and settling these claims is expensive and will ultimately reduce the amount of proceeds
available for distribution to claimants. In some instances, reimbursement from insurance providers
of costs to defend will reduce insurance recoveries available. Finally, the order in which cases are
tried can also impact the amount of money recovered by each claimant. Those claimants whose
cases are tried earlier may recover the full amount of a settlement or judgment, while those whose
cases are heard later may recover nothing, even if they are successful in obtaining a judgment
against the Diocese.

        In summary, proceeds available to pay claims under a dismissal will be significantly lower
than under a chapter 11 confirmed plan of reorganization, impacting all abuse claimants in this
case. In addition, the order in which claims are settled or resolved would likely result in a disparity
in recoveries by claimants based on timing. Lastly, certain abuse claimants that did not file
lawsuits against other third-party affiliates of the Diocese will have no recourse to pursue
recoveries against those other parties.



   OPINION #2 – THE DEBTOR’S FINANCIAL PERFORMANCE IS SUPPORTIVE OF
   REHABILITATION AND ITS PROJECTIONS ILLUSTRATE A PATH TO FUTURE VIABILITY

   A. Case to Date Performance Excluding Professional Fees

          From the petition date of October 1, 2020 through February 28, 2023, the Diocese has
   reported a Change in Net Assets due to Unrestricted Activity of -$62.3 million which includes
   $69.5 million of Reorganization Items (comprised of chapter 11 professional fees).




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Excluding Reorganization Items, the Diocese would have reported a positive Change in Net
Assets of $7.2 million case to date.
     Admin Offices Income Statement ($000s)                             Feb 2023    Case to Date
     Revenue
     Parish Assessments                                                      821          23,516
     Unrestricted Donations & Contributions                                  604           2,083
     Admin Services Revenue                                                  291           9,043
     Cell Tower Income                                                       267           8,731
     Investment Income (Loss)                                                 53             251
     Other Revenue                                                           197           8,101
     Assets Released from Restricted                                         351          14,212
     Total Unrestricted Revenue                                            2,584         65,938

     Operating Expenses
     Salaries & Benefits                                                   1,260          37,088
     Professional Fees                                                       170           6,094
     Insurance Claims Expense                                                  –               –
     Rent, Facilities & Utilities                                            118           4,669
     Other Operating Expense                                                 207           8,480
     Operating Support Expense                                                 –           1,891
     Total Operating Expenses                                              1,755         58,222

     Reorganization Items                                                  4,019          63,137

     Total Expenses                                                        5,774        121,359

     Admin Offices Change in Net Assets due to Unrestr. Activity          (3,190)        (55,421)


     Total Restricted Activity                                             1,297         11,671


     Admin Offices Change in Net Assets                                   (1,893)        (43,751)


     PSIP Income Statement                                              Feb 2023    Case to Date
     Revenue
     Insurance Assessments                                                1,472          39,338
     Specific Excess Recoveries                                             484          11,156
     Investment Gains / (Losses)                                              –               –
     Other Revenue                                                           84             905
     Total Revenue                                                        2,039          51,399

     Operating Expenses
     Claims Expense                                                         530          13,703
     Insurance Expense                                                    1,264          33,631
     Bad Debt Expense                                                         –             684
     Professional Fees                                                       93           2,110
     Salaries & Benefits                                                     59           1,605
     Rent, Facility, Utilities                                                6             132
     Other Operating Expenses                                                 1              55
     Total Operating Expenses                                             1,952          51,919

     Reorganization Items                                                   240            6,360

     Total Expenses                                                       2,192          58,279

     PSIP Change in Net Assets                                             (153)          (6,880)


     Total DRVC Change in Unrestricted Net Assets                                        (62,301)
     Ex-Reorganziation Items                                                             69,497
     Total DRVC Change in Unrestr. Net Assets Ex-Reorg Items                              7,196


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B. Projections for the next five years indicate the Diocese has a high likelihood it can
   meet its obligations as they come due

         The Debtor has prepared consolidated Financial Projections for the fiscal years ending
    August 31, 2023, through August 31, 2028 (the “Financial Projections”) contained within
    this report. The Diocese’s operations are comprised of two primary parts – (i) the
    Administrative Offices, which contains the primary operations of the Diocese, and (ii) the
    Protected Self Insurance Program (“PSIP”), which contains activities related to the
    Diocese’s insurance operations, excluding Ecclesia. Projections were developed under two
    scenarios for the Administrative Offices, based on whether the Spectrum Assets are sold or
    not.

    Description of Table 2-1: Administrative Offices Projections Without Spectrum Assets
    Monetization

       a. This scenario assumes the Debtor’s Spectrum Assets are not monetized and instead the
          Diocese continues to receive annual revenue for their use of approximately $4 million.
          In this scenario, the Administrative Offices are projected to end fiscal year 2028 with
          $17.5 million of unrestricted cash.




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                                        Assumptions for Table 2-1: Administrative Offices Projections without Spectrum Assets Monetization


                                                                                                                                                                                                             YoY Growth
                                                          FY 2022A      FY 2023E (1)   FY 2024E (2)     FY 2025E       FY 2026E       FY 2027E       FY 2028E          '22 - '23      '23 - '24       '24 - '25      '25 - '26      '26 - '27      '27 - '28     Notes
    Revenues
     Parish Assessment                                     9,859           9,957         10,057         10,158          10,259         10,362         10,465                 1.0%           1.0%           1.0%            1.0%           1.0%           1.0%     3
     Bad Debt Expense - AR                                 (584)          (1,078)        (1,079)        (1,089)         (1,100)        (1,111)        (1,122)               84.6%           0.0%           1.0%            1.0%           1.0%           1.0%
     Contributions from CHS                                 600             600            600            600             600            600            600                    –              –              –               –              –              –
     Catholic Ministries Appeal, net of Parish Sharing     5,653           5,705          6,075          6,248           6,402          6,563          6,732                 0.9%           6.5%           2.9%            2.5%           2.5%           2.6%
     Spectrum/Rent                                         4,026           4,379          4,403          4,484           4,566          4,650          4,793                 8.8%           0.6%           1.8%            1.8%           1.8%           3.1%     4
     Bequests & Donations                                   296              65             84             84              84             84            84                 (78.2%)         30.1%             –               –              –              –
     Admin Svc Reimbursement                               2,483           2,455          2,599          2,691           2,787          2,887          2,992                (1.1%)          5.9%           3.5%            3.6%           3.6%           3.6%
     Special Collections Income                             291             303            303            303             303            303            303                  4.3%             –              –               –              –              –
     Chaplaincy & Parish Services                          2,496           2,340          2,375          2,411           2,447          2,484          2,521                (6.2%)          1.5%           1.5%            1.5%           1.5%           1.5%
     Other Revenue                                          889             964            964            964             964            964            964                  8.4%             –              –               –              –              –
    Expenses
     Clergy and Religious Payroll & Benefits               2,798          2,973          3,009           3,085          3,163          3,244           3,328                 6.2%          1.2%            2.5%            2.5%           2.6%           2.6%
     Lay Payroll & Benefits                                12,174         12,448         13,160          13,599         14,057         14,536          15,035                2.2%          5.7%            3.3%            3.4%           3.4%           3.4%
     Events & Travel                                        207            290            435             457            457            457             457                 39.9%         50.2%            5.0%              –              –              –
     Professional & Contractor                             4,131          3,500          3,340           3,097          3,090          3,083           3,076               (15.3%)        (4.6%)          (7.3%)          (0.2%)         (0.2%)         (0.2%)
     Rent, Facility, & Utilities                           2,097          1,986          2,002           2,057          2,080          2,104           2,128                (5.3%)         0.8%            2.7%            1.1%           1.1%           1.1%
     Postage Printing & Production                          530            618            659             663            667            672             677                 16.4%          6.7%            0.6%            0.6%           0.7%           0.7%
     Grants                                                 121            121            335             335            335            335             335                 (0.1%)       177.5%              –               –              –              –      5
     Other Expense                                         1,682          1,604          1,694           1,733          1,775          1,820           1,871                (4.6%)         5.6%            2.3%            2.4%           2.6%           2.8%
    Other Mission-Related Expenses
     Catholic Charities (CMA)                               755             750            750            750            750             750            750                 (0.7%)            –              –               –              –                –
    Asset Sales
     Spectrum Monetization Net Proceeds                                      –                                                                                                                                                                                    6
     Spectrum Monetization Date                                            N/A
     Tower Sale Net Proceeds                                              13,325
     Tower Sale Date                                                    8/31/2023
    Other
     Clergy & Religious Salary Annual Increase per Head                         2.5%
     Clergy & Religious Fringe Annual Increase per Head                         3.5%
     Lay Salary Annual Increase per Head                                        3.0%
     Lay Medical Expense Annual Increase per Head                              10.0%
     Lay Pension/403(b) Cost as % of Salary                                    11.0%

  Notes:
1 Fiscal year 2023 projections include 6 months of actuals (through February). The remaining 6 month forecast is based on the 2023 budget and further insight from the DRVC finance team.
2 Fiscal year 2024 projections are forecasted based on historicals and insight from the DRVC finance team.
3 Gross Assessment Revenue prior to Provision for Bad Debt
4 Spectrum true-up revenue included in 2023 to reflect 5.3% increase to contractual revenue based on FCC ruling to allow for 100% use of bandwidth not reflected prior to FY2023. Spectrum revenue would be eliminated if the spectrum assets were sold as
  contemplated in the ongoing sale process
5 Resumption of Canon 1271 payment post emergence in 2024
6 N/A




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      Table 2-1: Administrative Offices Projections Without Spectrum Assets Monetization
                             Fiscal Year                         2023           2024          2025          2026          2027          2028
                                                                 6+6        Forecast      Forecast      Forecast      Forecast      Forecast
$ in thousands                                Notes           FY 2023        FY 2024       FY 2025       FY 2026       FY 2027       FY 2028
Revenue:
Parish Assessment, Gross                        A             $9,957.4     $10,056.9     $10,157.5     $10,259.1     $10,361.7     $10,465.3
Bad Debt Expense                                A            (1,078.2)      (1,078.5)     (1,089.3)     (1,100.2)     (1,111.2)     (1,122.3)
Catholic Ministries Appeal                      B              5,704.5        6,074.5       6,247.7       6,401.6       6,563.0       6,732.4
Spectrum/Rent                                   C              4,378.6        4,403.1       4,483.6       4,565.9       4,650.4       4,793.0
Admin., Chaplaincy & Parish Services           D,F             4,795.1        4,974.3       5,101.6       5,233.8       5,371.0       5,513.6
Other                                         E,G,H            1,931.7        1,951.1       1,951.1       1,951.1       1,951.1       1,951.1
Total Revenue                                               $25,689.0      $26,381.5     $26,852.2     $27,311.3     $27,786.0     $28,333.1
Operating Expenses:
Clergy Payroll & Benefits                         I           2,972.9        3,008.7       3,084.6       3,163.0       3,244.1       3,328.0
Lay Payroll & Benefits                            I          12,447.9       13,160.4      13,599.3      14,057.3      14,535.5      15,035.2
Professional & Contractor                      N, O           3,500.1        3,339.6       3,097.4       3,090.0       3,082.7       3,075.5
Rent, Facility & Utilities                       L            1,986.2        2,002.3       2,057.0       2,080.0       2,103.5       2,127.5
Grants                                           Q              120.7          335.0         335.0         335.0         335.0         335.0
Program & Other Expense                    J, K, M, P, R      2,511.7        2,788.9       2,852.8       2,898.9       2,949.4       3,004.9
Total Operating Expenses                                    $23,539.6      $24,634.9     $25,026.2     $25,624.2     $26,250.3     $26,906.1
Net Operating Income                                         $2,149.4       $1,746.6      $1,826.0      $1,687.1      $1,535.7      $1,427.0
Other Mission-Related Expenses:
Catholic Charities                              T                750.0          750.0         750.0         750.0         750.0         750.0
Other Mission-Related Expenses                                 $750.0         $750.0        $750.0        $750.0        $750.0        $750.0
Net Operating Income after Other Expenses                    $1,399.4         $996.6      $1,076.0        $937.1        $785.7        $677.0
Other (Income)/Expense:
(Gain) Loss on Investment                       U              (856.9)        (721.3)       (730.4)       (739.5)       (748.8)       (758.3)
(Gain) Loss on Transfer of Assets               V           (13,325.0)              –             –             –             –             –
Professional Fees - Ch 11 & Other               S             29,184.7          980.0             –             –             –             –
Depr., Amort., & Accretion                      W                105.1           73.4          46.6          47.2          47.8          46.6
Change in Restr. Assets & NSA Assets            X                 25.9          740.9         740.8         740.7         740.6         740.5
Other Investment Income and Releases            Y                500.4          500.9         500.9         500.9         500.9         500.9
Other (Income)/Expense                                      $15,634.2       $1,573.9        $557.9        $549.2        $540.4        $529.7
Total Change in Net Assets                                 ($14,234.8)      ($577.3)        $518.1        $387.9        $245.3        $147.3
Reconciliation to Net Change in Cash and Investments:
Change in Working Capital                     Z              (5,008.3)        (136.5)       (118.8)       (100.8)       (101.3)       (112.9)
D&A, Accretion and Other                     AA                1,183.3        1,151.9       1,135.9       1,147.4       1,159.0       1,168.9
Purchase/Sale of Fixed Assets                 V               13,322.7              –             –             –             –             –
(Gain) Loss on Transfer of Assets             V             (13,325.0)              –             –             –             –             –
Net Change in Cash and Investments                         ($18,062.1)        $438.1      $1,535.2      $1,434.5      $1,303.0      $1,203.3
Beginning Cash and Investments                                55,258.9      37,196.8      37,634.9      39,170.1      40,604.6      41,907.6
Net Change in Cash and Investments                          (18,062.1)         438.1       1,535.2       1,434.5       1,303.0       1,203.3
Ending Cash and Investments                                  $37,196.8     $37,634.9     $39,170.1     $40,604.6     $41,907.6     $43,110.9
Less: CMA Cash                                 BB             (9,573.3)      (9,573.3)     (9,573.3)     (9,573.3)     (9,573.3)     (9,573.3)
Less: NSA Cash                                 CC             (1,252.2)      (1,261.1)     (1,270.1)     (1,279.2)     (1,288.4)     (1,297.7)
Less: Restricted Cash                          DD           (13,984.1)     (13,984.1)    (13,984.1)    (13,984.1)    (13,984.1)    (13,984.1)
Less: Other Non-Operating Cash                 EE               (724.8)        (724.8)       (724.8)       (724.8)       (724.8)       (724.8)
Net Available Cash and Investments                           $11,662.4      $12,091.6     $13,617.8     $15,043.2     $16,337.0     $17,531.0




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   Description of Table 2-2: Administrative Offices Projections with Spectrum Assets
   Monetization

      b. This scenario assumes monetization of the Spectrum Assets with one-time net proceeds
         of $20.0 million in FY2023. There are two assumed methods of monetization. The
         Diocese could enter into an agreement to borrow funds against either the future
         proceeds of a Spectrum Assets sale or the future lease revenue. Alternatively, the
         Spectrum Assets asset can be sold outright through an expedited sale process. In this
         scenario, the Administrative Offices are projected to end fiscal year 2028 with $14.6
         million of unrestricted cash. Other than the Spectrum Assets monetization noted above,
         this scenario is identical to the Administrative Offices scenario without Spectrum
         Assets monetization.




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                                           Assumptions for Table 2-2: Administrative Offices Projections with Spectrum Assets Monetization


                                                                                                                                                                                                             YoY Growth
                                                          FY 2022A      FY 2023E (1)   FY 2024E (2)     FY 2025E       FY 2026E       FY 2027E       FY 2028E          '22 - '23      '23 - '24       '24 - '25      '25 - '26      '26 - '27      '27 - '28     Notes
    Revenues
     Parish Assessment                                     9,859           9,957         10,057         10,158          10,259         10,362         10,465                 1.0%           1.0%           1.0%            1.0%           1.0%           1.0%     3
     Bad Debt Expense - AR                                 (584)          (1,078)        (1,079)        (1,089)         (1,100)        (1,111)        (1,122)               84.6%           0.0%           1.0%            1.0%           1.0%           1.0%
     Contributions from CHS                                 600             600            600            600             600            600            600                    –              –              –               –              –              –
     Catholic Ministries Appeal, net of Parish Sharing     5,653           5,705          6,075          6,248           6,402          6,563          6,732                 0.9%           6.5%           2.9%            2.5%           2.5%           2.6%
     Spectrum/Rent                                         4,026           4,379             –              –               –              –             –                   8.8%        (100.0%)            –               –              –              –      4
     Bequests & Donations                                   296              65             84             84              84             84            84                 (78.2%)         30.1%             –               –              –              –
     Admin Svc Reimbursement                               2,483           2,455          2,599          2,691           2,787          2,887          2,992                (1.1%)          5.9%           3.5%            3.6%           3.6%           3.6%
     Special Collections Income                             291             303            303            303             303            303            303                  4.3%             –              –               –              –              –
     Chaplaincy & Parish Services                          2,496           2,340          2,375          2,411           2,447          2,484          2,521                (6.2%)          1.5%           1.5%            1.5%           1.5%           1.5%
     Other Revenue                                          889             964            964            964             964            964            964                  8.4%             –              –               –              –              –
    Expenses
     Clergy and Religious Payroll & Benefits               2,798          2,973          3,009           3,085          3,163          3,244           3,328                 6.2%          1.2%            2.5%            2.5%           2.6%           2.6%
     Lay Payroll & Benefits                                12,174         12,448         13,160          13,599         14,057         14,536          15,035                2.2%          5.7%            3.3%            3.4%           3.4%           3.4%
     Events & Travel                                        207            290            435             457            457            457             457                 39.9%         50.2%            5.0%              –              –              –
     Professional & Contractor                             4,131          3,500          3,340           3,097          3,090          3,083           3,076               (15.3%)        (4.6%)          (7.3%)          (0.2%)         (0.2%)         (0.2%)
     Rent, Facility, & Utilities                           2,097          1,986          2,002           2,057          2,080          2,104           2,128                (5.3%)         0.8%            2.7%            1.1%           1.1%           1.1%
     Postage Printing & Production                          530            618            659             663            667            672             677                 16.4%          6.7%            0.6%            0.6%           0.7%           0.7%
     Grants                                                 121            121            335             335            335            335             335                 (0.1%)       177.5%              –               –              –              –      5
     Other Expense                                         1,682          1,604          1,694           1,733          1,775          1,820           1,871                (4.6%)         5.6%            2.3%            2.4%           2.6%           2.8%
    Other Mission-Related Expenses
     Catholic Charities (CMA)                               755             750            750            750            750             750            750                 (0.7%)            –              –               –              –                –
    Asset Sales
     Spectrum Monetization Net Proceeds                                   20,000                                                                                                                                                                                  6
     Spectrum Monetization Date                                         8/31/2023
     Tower Sale Net Proceeds                                              13,325
     Tower Sale Date                                                    8/31/2023
    Other
     Clergy & Religious Salary Annual Increase per Head                         2.5%
     Clergy & Religious Fringe Annual Increase per Head                         3.5%
     Lay Salary Annual Increase per Head                                        3.0%
     Lay Medical Expense Annual Increase per Head                              10.0%
     Lay Pension/403(b) Cost as % of Salary                                    11.0%

  Notes:
1 Fiscal year 2023 projections include 6 months of actuals (through February). The remaining 6 month forecast is based on the 2023 budget and further insight from the DRVC finance team.
2 Fiscal year 2024 projections are forecasted based on historicals and insight from the DRVC finance team.
3 Gross Assessment Revenue prior to Provision for Bad Debt
4 Spectrum true-up revenue included in 2023 to reflect 5.3% increase to contractual revenue based on FCC ruling to allow for 100% use of bandwidth not reflected prior to FY2023. Spectrum revenue would be eliminated if the spectrum assets were sold as
  contemplated in the ongoing sale process
5 Resumption of Canon 1271 payment post emergence in 2024
6 Assumes minimum net proceeds of any spectrum monetization transaction are equal to approximately 5 years of currently contracted spectrum revenue




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         Table 2-2: Administrative Offices Projections with Spectrum Assets Monetization
                             Fiscal Year                        2023           2024          2025          2026          2027          2028
                                                                6+6        Forecast      Forecast      Forecast      Forecast      Forecast
$ in thousands                                Notes          FY 2023        FY 2024       FY 2025       FY 2026       FY 2027       FY 2028
Revenue:
Parish Assessment, Gross                        A            $9,957.4     $10,056.9     $10,157.5     $10,259.1     $10,361.7     $10,465.3
Bad Debt Expense                                A           (1,078.2)      (1,078.5)     (1,089.3)     (1,100.2)     (1,111.2)     (1,122.3)
Catholic Ministries Appeal                      B             5,704.5        6,074.5       6,247.7       6,401.6       6,563.0       6,732.4
Spectrum/Rent                                   C             4,378.6              –             –             –             –             –
Admin., Chaplaincy & Parish Services           D,F            4,795.1        4,974.3       5,101.6       5,233.8       5,371.0       5,513.6
Other                                         E,G,H           1,931.7        1,951.1       1,951.1       1,951.1       1,951.1       1,951.1
Total Revenue                                              $25,689.0      $21,978.4     $22,368.6     $22,745.4     $23,135.6     $23,540.1
Operating Expenses:
Clergy Payroll & Benefits                         I          2,972.9        3,008.7       3,084.6       3,163.0       3,244.1       3,328.0
Lay Payroll & Benefits                            I         12,447.9       13,160.4      13,599.3      14,057.3      14,535.5      15,035.2
Professional & Contractor                      N, O          3,500.1        3,339.6       3,097.4       3,090.0       3,082.7       3,075.5
Rent, Facility & Utilities                       L           1,986.2        2,002.3       2,057.0       2,080.0       2,103.5       2,127.5
Grants                                           Q             120.7          335.0         335.0         335.0         335.0         335.0
Program & Other Expense                    J, K, M, P, R     2,511.7        2,788.9       2,852.8       2,898.9       2,949.4       3,004.9
Total Operating Expenses                                   $23,539.6      $24,634.9     $25,026.2     $25,624.2     $26,250.3     $26,906.1
Net Operating Income                                        $2,149.4      ($2,656.5)    ($2,657.5)    ($2,878.8)    ($3,114.6)    ($3,366.0)
Other Mission-Related Expenses:
Catholic Charities                              T               750.0          750.0         750.0         750.0         750.0         750.0
Other Mission-Related Expenses                                $750.0         $750.0        $750.0        $750.0        $750.0        $750.0
Net Operating Income after Other Expenses                   $1,399.4      ($3,406.5)    ($3,407.5)    ($3,628.8)    ($3,864.6)    ($4,116.0)
Other (Income)/Expense:
(Gain) Loss on Investment                       U             (856.9)        (721.3)       (730.4)       (739.5)       (748.8)       (758.3)
(Gain) Loss on Transfer of Assets               V          (33,325.0)              –             –             –             –             –
Professional Fees - Ch 11 & Other               S            29,184.7          980.0             –             –             –             –
Depr., Amort., & Accretion                      W               105.1           73.4          46.6          47.2          47.8          46.6
Change in Restr. Assets & NSA Assets            X                25.9          740.9         740.8         740.7         740.6         740.5
Other Investment Income and Releases            Y               500.4          500.9         500.9         500.9         500.9         500.9
Other (Income)/Expense                                     ($4,365.8)      $1,573.9        $557.9        $549.2        $540.4        $529.7
Total Change in Net Assets                                  $5,765.2      ($4,980.4)    ($3,965.5)    ($4,178.0)    ($4,405.1)    ($4,645.7)
Reconciliation to Net Change in Cash and Investments:
Change in Working Capital                     Z             (5,008.3)        (136.5)       (118.8)       (100.8)       (101.3)       (112.9)
D&A, Accretion and Other                     AA               1,183.3        1,151.9       1,135.9       1,147.4       1,159.0       1,168.9
Purchase/Sale of Fixed Assets                 V              33,322.7              –             –             –             –             –
(Gain) Loss on Transfer of Assets             V            (33,325.0)              –             –             –             –             –
Net Change in Cash and Investments                          $1,937.9      ($3,965.0)    ($2,948.3)    ($3,131.4)    ($3,347.3)    ($3,589.7)
Beginning Cash and Investments                              55,258.9        57,196.8      53,231.8      50,283.5      47,152.1      43,804.7
Net Change in Cash and Investments                           1,937.9       (3,965.0)     (2,948.3)     (3,131.4)     (3,347.3)     (3,589.7)
Ending Cash and Investments                                $57,196.8      $53,231.8     $50,283.5     $47,152.1     $43,804.7     $40,215.0
Less: CMA Cash                                 BB            (9,573.3)      (9,573.3)     (9,573.3)     (9,573.3)     (9,573.3)     (9,573.3)
Less: NSA Cash                                 CC            (1,252.2)      (1,261.1)     (1,270.1)     (1,279.2)     (1,288.4)     (1,297.7)
Less: Restricted Cash                          DD          (13,984.1)     (13,984.1)    (13,984.1)    (13,984.1)    (13,984.1)    (13,984.1)
Less: Other Non-Operating Cash                 EE              (724.8)        (724.8)       (724.8)       (724.8)       (724.8)       (724.8)
Net Available Cash and Investments                          $31,662.4      $27,688.5     $24,731.1     $21,590.6     $18,234.1     $14,635.1




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        To evaluate the reasonableness of the assumptions used in the financial projections,
   each input was reviewed with the Debtor’s management and its advisors. The financial
   projections take into account the assumptions noted below, as well as the current
   environment in which the Debtor operates, including many economic and financial forces
   that are beyond the control of the Debtor.

   Administrative Offices Receipts Assumptions

      a. Parish Assessments – includes a semi-annual assessment as a percentage of parish
         collections which is paid monthly to the Debtor. Forecast assumes 1% annual
         assessment revenue growth during 2024 through 2028 and a collection rate of 89%.

      b. Release of Restricted Funds from CMA – Consists of a release of restricted funds
         collected as part of the Catholic Ministries Appeal to reimburse the Debtor’s
         Administrative Offices for costs incurred by certain CMA-funded departments. The
         forecast assumes transfers from CMA are sufficient to fund 100% of the costs incurred
         by the CMA-funded departments (assumed to grow at approximately 3% annually
         during 2025 and beyond).

      c. Spectrum and Other Lease Income – Consists of contractual revenue associated with
         leases of the Spectrum Assets to third-party telecommunications providers. This
         revenue stream is expected to cease in the scenario that assumes the monetization of
         the underlying assets during FY2023.

      d. Departmental, Chaplaincy & Program Income – Consists of (a) fees paid to the Debtor
         by participants in a wide variety of diocesan programs such as Pre-Cana, Tribunal, and
         Diaconate Formation, (b) fees paid to the diocese by hospitals and prisons for
         chaplaincy services, and (c) fees paid by parishes to the Debtor for the provision of
         administrative services, such as finance, accounting, human resources, information
         technology, and payroll. Assumes approximately 1.5% annual growth from 2024-2028.

      e. Donations and Other Receipts – Consists of (a) a $600,000 annual contribution from
         Catholic Health Services (“CHS”), (b) bequests and donations, and (c) other receipts
         such as parish loan repayments and priest life insurance proceeds. Assumes $600,000
         from CHS annually, limited bequests and donations and other inflows consistent with
         prior years.

      f. Administrative Services – Consists of service fees paid by third parties for
         administrative services provided by the Debtor such as accounting, finance, human
         resources, information technology, payroll, etc. This revenue is separate from the
         revenue the Debtor earns for providing similar services to parishes, which is part of the
         Departmental, Chaplaincy & Program Income described above. This revenue stream is
         assumed to grow at approximately 3.5% per year as with regular increases in salaries.

      g. Investment Income – Consists of interest income earned on money market account
         balances.



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      h. Release of Restricted Funds – Consists of the release of restricted funds to unrestricted
         funds (excluding those collected via the Catholic Ministries Appeal) as expenses are
         incurred meeting the donor restrictions. Assumes annual releases of restricted funds
         consistent with prior years.

   Administrative Offices Operating Disbursement Assumptions

      i.   Payroll & Benefits – Represents employee costs which are driven by headcount and
           inflation assumptions. Assumes 5% annual wage and benefits increases from 2023 to
           2024 and 3.2% increases in subsequent years (excludes health insurance premiums
           which are assumed to increase by 10% annually).

           Note that the Debtor processes certain benefits for parish employees and employees of
           other entities. These amounts are not reflected in the projections as they are passed
           through. The Financial Projections include approximately $1 million contributed into
           the pension plans and 403(b) plans on behalf of the Debtor’s employees each year.
           Depending on performance of the pension plan, the Debtor may not be required to
           make the entire contribution to the pension. If lower pension contributions are made,
           cash would increase from what is currently projected. Conversely, if greater
           contributions are required, cash would decrease from what is currently projected.

      j.   Canon 1271 and Catholic Group Assessments – Assumes $200,000 of annual
           assessments paid to the Holy See post-emergence and $211,000 of annual assessments
           paid to the US Conference of Catholic Bishops and the NY Conference of Catholic
           Bishops both pre- and post-emergence.

      k. Tuition & Student Expenses – Consists of tuition, room & board and other schooling
         related expenses for undergraduates, priests, and seminarians. Assumes ~10% growth
         per year.

      l.   Rent, Facilities & Utilities – Consists of office rental expense, facilities, and utilities
           costs which are assumed to increase 1-2% per year.

      m. PSIP and NYSIF Insurance – Consist of property and casualty and workers’
         compensation insurance costs incurred by the Debtor. Assumed to grow at 2% per year
         over the forecast period.

      n. Professional Fees & Service Providers – Consists of ordinary course professional fees
         including those associated with investigations of allegations of abuse. Professional fees
         are assumed to decline over the medium term as existing abuse-related investigations
         and other non-abuse related initiatives are completed.

      o. Catholic Faith Network – Consists of monthly payments of approximately $55,000
         with annual escalations pursuant to the contract.

      p. Sacred Heart Institute – Consists of contractual payments pursuant to a tri-party
         agreement to fund the operations of Sacred Heart Institute for the formation of priests
         and deacons. The operations are funded by the Archdiocese of NY, the Diocese of
         Brooklyn and the Debtor. Assumes costs remain flat throughout the projection period.
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      q. Grants – Consists of grants received from external sources to fund operations, such as
         grants from the government, foundations, or other charitable organizations. If the
         diocese has received such grants, they would be considered operating expenses as they
         are used to fund the ongoing operating expenses.

      r. Program and Other Expenses – Consists of direct costs associated with the Diocese's
         revenue-generating programs and other expenses related to running operations.

   Administrative Offices Non-Operating Disbursement Assumptions

      s. Chapter 11 Professional Fees – Consists of costs associated with the retained
         professionals in this chapter 11 case on a post-emergence basis. Assumes all unpaid
         fees incurred during the chapter 11 case are paid or escrowed upon emergence.

      t.   Catholic Charities – Expenses associated with the support of the nonprofit organization
           as part of the Diocese’s mission to serve the community. Assumes a constant annual
           expense of $750,000 over the projection period.

   Administrative Offices Non-Operating Disbursement Assumptions

      u. (Gain) Loss on Investment – Financial gains or losses that the diocese incurs from its
         Unitas investments. Assumes investment account returns of 1.3% as a baseline over
         the projection period.

      v. (Gain) Loss on Transfer of Assets – Refers to the cash payment expected to be received
         from the sale of the tower assets. Net proceeds from the sale are estimated to be $13.3
         million.

      w. Depreciation, Amortization, and Accretion – Allows the Diocese to spread the cost of
         its assets and liabilities over time, which helps to match expenses with revenues and
         improve the accuracy of its accounting.

      x. Change in Restricted Assets and NSA Assets – Donations received from individuals or
         organizations that are earmarked for a particular program, such as education or
         charitable work. These donations are considered restricted assets as they can only be
         used for that specific program or purpose.

      y. Other Investment Income – Consists of releases from restriction on St. John Fisher
         funds for seminarian tuition costs.

   Administrative Offices Reconciliation to Net Change in Cash and Investments
   Assumptions

      z. Change in Working Capital – Measures the difference between the Diocese’s current
         assets and current liabilities. Assumes slightly negative net working capital over the
         projection period.



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      aa. Depreciation / Amortization, Accretion, and Other – adds back the non-cash expense
          of capitalized items in order to reconcile cash.

   Administrative Offices Reconciliation to Net Available Cash Assumptions

      bb. CMA Cash – Reduces available cash by the balance in the CMA accounts.

      cc. NSA Cash – Reduces available cash by the balance in the NSA accounts.

      dd. Restricted Cash – Reduces available cash by the balance in the Restricted accounts.

      ee. Other Non-Operating Cash – Reduces available cash by the balance in the Schwab
          stock donation, Pastoral Musicians and Suffolk County Bank accounts.




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                            Assumptions for Table 2-3: Protected Self Insurance Program Projections

                                                                Growth Rates (%)                                Annual Projections ($)
                                                      FY 2023       FY 2024     FY 2025+       FY 2024     FY 2025      FY 2026       FY 2027      FY 2028
  Cash Inflows - Monthly Increases (%)
   Parish Premiums                                       12.0%         12.0%         12.0%     21,102,484 23,634,782 26,470,956 29,647,470 33,205,167
   Bad Debt Expense                                      (5.0%)        (5.0%)        (5.0%)   (1,055,124) (1,181,739) (1,323,548) (1,482,374) (1,660,258)
   Premium Finance Proceeds                               NA           NM            14.0%     12,658,216 14,430,366 16,450,617 18,753,704 21,379,222
   WC Bond Interest                                         –             –             –           8,000       8,000       8,000       8,000       8,000
   Insurance Recoveries                                   3.0%          3.0%          3.0%      3,613,900 3,722,317 3,833,986 3,949,006 4,067,476
   Administrative Services Income                         2.0%          2.0%          2.0%        124,848     127,345     129,892     132,490     135,139
   Money Market Interest                                                                          484,635     418,029     338,101     298,137     284,815
   Other Income                                                                                     7,266       7,267       7,268       7,271       7,278

  Cash Outflows - Monthly Increases (%)
   Claims Expense                                       (25.0%)         3.0%          3.0%     4,536,093    4,689,096    4,846,689     5,009,009    5,176,200
   Insurance Premiums                                     9.0%         14.0%         14.0%    18,083,166   20,614,809   23,500,882    26,791,006   30,541,746
   Premium Finance Repayments & Interest                  NA        4,707.2%         56.2%     8,930,703   13,952,808   15,906,201    18,133,069   20,671,698
   Legal Fees                                             2.5%          2.5%          2.5%       226,089      231,741      237,535       243,473      249,560
   Ch. 11 Professional Fees (1)                           NA            NA            NA               –            –            –             –            –
   WC Assessments & Other Insurance Costs                 2.0%          2.0%          2.0%       312,886      319,144      325,527       332,037      338,678
   Payroll & Benefits                                    19.7%          5.0%          5.0%       846,812      889,153      933,611       980,291    1,029,306
   DRVC Pension / 403B                                    5.0%          5.0%          5.0%        62,763       65,901       69,196        72,656       76,289
   DRVC Medical                                          10.0%         10.0%          5.0%        63,231       66,393       69,712        73,198       76,858
   Other Accounts Payable                                50.0%         50.0%          2.0%       641,246      653,942      666,891       680,099      693,571


  Notes:
1 Ch. 11 Pro Fees, in the forecast period, are assumed end in August 2023.




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                                Table 2-3: Protected Self Insurance Program Projections
                                          Assumption          6+6     Forecast     Forecast     Forecast     Forecast     Forecast
$ in thousands                             Paragraph      FY 2023      FY 2024      FY 2025      FY 2026      FY 2027      FY 2028
Cash Inflows
 Premiums from Parishes                       A          17,899.4    20,047.4     22,453.0     25,147.4     28,165.1     31,544.9
 Premium Finance Funding                      B           1,097.5    12,658.2     14,430.4     16,450.6     18,753.7     21,379.2
 Other Income                                 C             600.5       499.9        433.3        353.4        313.4        300.1
 Insurance Recoveries                         D           3,508.6     3,613.9      3,722.3      3,834.0      3,949.0      4,067.5
 Administrative services income, net          E             122.4       124.8        127.3        129.9        132.5        135.1
Total Cash Inflows                                       23,228.5    36,944.2     41,166.4     45,915.3     51,313.7     57,426.8
Cash Outflows
Operating Disbursements
 Payroll and Benefits                         F            (923.7)      (972.8)    (1,021.4)    (1,072.5)    (1,126.1)    (1,182.5)
 Claims Expense                               G          (4,339.4)    (4,536.1)    (4,689.1)    (4,846.7)    (5,009.0)    (5,176.2)
 Insurance Premiums                           H         (15,862.4)   (18,083.2)   (20,614.8)   (23,500.9)   (26,791.0)   (30,541.7)
 Premium Finance Repayments & Interest        I            (185.8)    (8,930.7)   (13,952.8)   (15,906.2)   (18,133.1)   (20,671.7)
 Other Insurance Costs                        J            (306.8)      (312.9)      (319.1)      (325.5)      (332.0)      (338.7)
 Legal Fees                                   K            (220.6)      (226.1)      (231.7)      (237.5)      (243.5)      (249.6)
 Pastoral Care                                L            (274.8)          -            -            -            -            -
 Other Expenses                               M            (429.7)      (641.2)      (653.9)      (666.9)      (680.1)      (693.6)
Total Operating Disbursements                           (22,543.1)   (33,703.0)   (41,483.0)   (46,556.2)   (52,314.8)   (58,853.9)
Total Operating Cash Flows                                 685.5       3,241.2       (316.6)      (641.0)    (1,001.1)    (1,427.1)
Non-Operating Cash Flows
 Chapter 11 Professional fees                 N          (1,911.1)          -            -            -            -            -
 Funds Held for Others                        O           1,003.1           -            -            -            -            -
 Plan Disbursements                           P          (2,500.0)          -            -            -            -            -
Total Non-Operating Cash Flows                           (3,408.0)          -            -            -            -            -
Total Cash Inflows/(Outflows)                            (2,722.6)     3,241.2       (316.6)      (641.0)    (1,001.1)    (1,427.1)
Beginning Cash Balance                                 $ 24,361.7 $ 21,639.1 $ 24,880.4 $ 24,563.7 $ 23,922.8 $ 22,921.6
Change in Cash                                           (2,722.6)   3,241.2     (316.6)    (641.0)  (1,001.1)  (1,427.1)
Ending Cash Balance                                    $ 21,639.1 $ 24,880.4 $ 24,563.7 $ 23,922.8 $ 22,921.6 $ 21,494.6



                     PSIP Receipts Assumptions

                     a. Premiums – Consists of property and casualty premiums paid by parishes and other
                        entities within the Diocese to the Debtor. Assumes 12% annual growth.

                     b. Premium Finance Funding – Consists of borrowing by the Diocese to eliminate the
                        timing gap associated with funding premiums to third party insurers (which are paid
                        primarily in April and November) prior to receiving premiums from parish (which
                        are paid throughout the year).

                     c. Other Income – Consists of workers’ compensation bond interest and interest
                        earned on excess cash invested in money market accounts. Assumes variable
                        money market interest income averaging $365,000 annually, $8,000 of interest on
                        the workers’ compensation deposit posted with the State of New York, and $7,000
                        of other income in 2024 and beyond.


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      d. Insurance Recoveries – Consists of payments from third-party insurers through
         whom the Debtor has procured reinsurance. Such payments are typically paid as
         reimbursements for claims already paid by the Debtor, but are paid in advance in
         certain circumstances. Assumes $3.5 million of recoveries in 2023 with 3% annual
         growth in recoveries in 2023 and beyond.

      e. Administrative Services Income – Represents receipts related to administrative
         services provided by PSIP on behalf of third parties prior to filing for chapter 11.
         Assumes 2% annual growth in 2024 and beyond.

     PSIP Operating Disbursement Assumptions

      f. Payroll & Benefits – Consists of salary and benefit payments to individuals working
         in the Debtor’s risk management function. Assumes 5% annual wage growth and
         10% annual increase in medical benefits costs in 2024 and beyond.

      g. Claims Expense – Consists of claims payments made by the diocese against claims
         from other entities within the diocese and/or their employees. Assumes
         approximately 3% annual growth in claims expense in 2024 and beyond.

      h. Insurance Premiums – Consists of payments by the Debtor to third-party insurers
         to reinsure risks underwritten by PSIP. Assumes 14% annual growth beyond 2023.

      i. Premium Finance Repayment & Interest – Consists of repayments of the Premium
         Finance Funding included in cash inflows along with payment of the associated
         interest expense.

      j. Other Insurance Costs – Consists of worker’s compensation assessments, broker
         fees, adjuster fees, actuary costs, and insurance software licenses. Assumes 2.0%
         annual growth in Other Insurance Costs in 2024 and beyond.

      k. Legal Fees – Consists of ordinary course legal fees related to the administration of
         PSIP. Assumes 2.5% annual increase in legal fees in 2024 and beyond.

      l. Pastoral Care – Consists of payments made by the Debtor for psychological
         counseling, therapy, and related treatment for victims of abuse. Assumes these costs
         are paid by a settlement trust post-emergence (assumed to be August 31, 2023).

      m. Other Expenses – Consists of other ordinary course operating expenses incurred by
         PSIP. Assumed to grow at 2% annually in 2024 and beyond.

      n. Chapter 11 Professional Fees – Consists of costs associated with the retained
         professionals in this chapter 11 case. Assumes all unpaid fees incurred during the
         chapter 11 case are paid or escrowed upon emergence.

      o. Funds Held for Others – Consists of funds held in trust for the benefit of others.

      p. Plan Disbursements – Consists of a $2.5 million PSIP contribution in FY 2023.

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III.   RESERVATION OF RIGHTS

My opinions herein are based solely on the information available and work performed through the
date of this report. I reserve the right to supplement my opinion should further information be
produced, and to respond to any expert opinions offered by, or on behalf of, the parties to this
matter. My testimony may also supplement this report. This report is therefore subject to change
or modification should additional relevant information become available that bears on the analyses,
opinions, or conclusions contained herein.

Selected pages from the documents and information considered may be used as exhibits at trial.
Additionally, I may prepare graphical or illustrative exhibits based on the documents and
information considered.

If called upon to testify, I could and would competently testify to the facts set forth herein.



Respectfully submitted,




Charles M. Moore
Restructuring Advisor to The Roman Catholic Diocese of Rockville Centre, New York
April 17, 2023




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              Curriculum Vitae & Articles Written in Last Ten Years




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                                        CURRICULUM VITAE

                                        Charles M. Moore, CPA

EXPERIENCE
Charles Moore is a Managing Director within Alvarez & Marsal’s North American restructuring
division. He brings more than twenty-five years of experience in operational and financial restructuring,
turnaround consulting, performance improvement and interim management. He serves under-performing
organizations, as well as financially distressed municipalities and their constituents.

Mr. Moore is nationally recognized for his work in the automotive industry. He has counseled more than
seventy-five companies in the industry across all component parts segments. Mr. Moore regularly advises
Tier I and Tier II automotive suppliers, along with secured lenders and equity investors, on matters such as
liquidity management, mergers & acquisitions, capital raise, negotiation of commercial issues, cost
accounting and operational analysis, cost reductions, negotiations with unions and customers, and strategic
planning.

Mr. Moore also has deep experience in the power and utilities industry and recently served as Chief
Restructuring Officer of FirstEnergy Solutions, a merchant power generator with generation assets
encompassing coal and nuclear fuel sources, with capability of generating approximately 50 TWhs
annually, as well as a retail business selling approximately 40 TWhs annually. Mr. Moore also provided
advisory services to the Governance Committee of the Board of NRG REMA, LLC, a merchant power
generator and subsidiary of GenOn, Inc.

Mr. Moore also has experience with mass tort cases. He currently serves as restructuring advisor to the
Diocese of Rockville Centre, New York in its chapter 11 proceeding and has worked with other Catholic
dioceses outside of chapter 11. Mr. Moore also provided advisory services to the Official Committee of
Tort Claimants in the Takata chapter 11 proceeding, which involved the largest recall of vehicles in the
history of the automotive industry.

Mr. Moore led the team that provided operational restructuring services to the City of Detroit and facilitated
the creation of the $1.7 billion Reinvestment Plan, the cornerstone of the City’s Plan of Adjustment in
emerging from bankruptcy in December 2014.

Mr. Moore has served as an expert witness in bankruptcy and commercial litigation matters and has held
fiduciary roles, including Liquidating Trustee and Special Fiduciary.

Prior to joining A&M, Mr. Moore was a Senior Managing Director at Conway MacKenzie, Inc. Earlier in
his career, he served as Chief Financial Officer for Horizon Technology Group. He began his career in the
Management Solutions & Services group at Deloitte & Touche.

Mr. Moore is a Certified Public Accountant, a Certified Turnaround Professional and is certified in
Financial Forensics. He earned his Bachelor of Arts degree in Accounting and a Master’s degree in Business
Administration in Professional Accounting, both from the Eli Broad College of Business at Michigan State
University




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ARTICLES WRITTEN IN THE LAST TEN YEARS

“Check Engine: Rules of the Road to Navigate Upcoming Auto Distress”
American Bankruptcy Institute Journal, January 2018

“Power Industry Overview and 2020 Outlook: An Industry in Transition”
AIRA Journal, February 2020

“The COVID Crisis: A Catalyst for Change in Catholic Education”
Alvarez & Marsal, April 2020

“Planning for a Highly Uncertain 2021 in the Automotive Sector”
Alvarez & Marsal, December 2020

“Inventory and Sales Volumes Continue to Decline as Chip Shortage Woes Persist”
Alvarez & Marsal, Monthly Automotive Spotlight, August 2021

“Supply Chain Disruptions Continue to Weigh on Industry Performance”
Alvarez & Marsal, Monthly Automotive Spotlight, October 2021

“Three Areas of Focus to Prepare for the Next Crisis”
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“Industry Remains in Flux as Inventory Wanes Due to Persisting Supply Chain Issues”
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“Despite Signs That the Production Trough Has Passed, Industry Woes Are Far from Over”
Alvarez & Marsal, Monthly Automotive Spotlight, November 2021

“Automakers Seek to Enhance Supply Chains to Aid in The Transition to Electric Vehicles”
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Hinder Current Performance”
Alvarez & Marsal, Monthly Automotive Spotlight, January 2022

“Canadian Border Protests Add New Issue to Persisting Supply Chain Distress”
Alvarez & Marsal, Monthly Automotive Spotlight, February 2022

“Industry Supply Chain Issues Further Exacerbated by Russia-Ukraine Conflict”
Alvarez & Marsal, Monthly Automotive Spotlight, March 2022

“The Electric Transition Continues Despite Persisting Supply Chain Challenges”
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“Despite Fewer Production Shutdowns and Increasing Sales, Supply Chain Issues Are Far from
Over”
Alvarez & Marsal, Monthly Automotive Spotlight, May 2022

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“The Industry Continues to Work Around Depressed Inventory Levels and A&M Completes Its
Three-Part Series on Electric Vehicle Adoption”
Alvarez & Marsal, Monthly Automotive Spotlight, June 2022

“Industry Remains Stagnant, While Recession Fears Grow Amid Slower Demand”
Alvarez & Marsal, Monthly Automotive Spotlight, July 2022

“The Industry Continues to Battle Disrupted Supply Chains and Lower Production, While Sales and
Inventories Remain Consistently Low”
Alvarez & Marsal, Monthly Automotive Spotlight, August 2022

“Global Economic Conditions Remain Unfavorable, and A&M Finishes Its Tow-Part Series on
Expanding Business Opportunities for OEMS and Suppliers”
Alvarez & Marsal, Monthly Automotive Spotlight, September 2022

“Production Cuts Expected to Continue in 2023, With No Clear End in Sight for the Chip Shortage
or Supply Chain Issues; Macroeconomic Forces Creating Uncertainty for Vehicle Sales”
Alvarez & Marsal, Monthly Automotive Spotlight, September 2022

“Mixed Q3 2022 Financial Results, Continued Production Issues and an Improving Microchip
Outlook Result in an Unclear Path Ahead Moving into 2023”
Alvarez & Marsal, Monthly Automotive Spotlight, November 2022

“Covid-19 and Semiconductor Issues Reemerge, Weighing on Production and Industry
Performance”
Alvarez & Marsal, Monthly Automotive Spotlight, December 2022

“Inventory Continues to Rebound as Pricing Pressures Mount and Detroit’s Big Three Prepare for
Labor Negotiations”
Alvarez & Marsal, Monthly Automotive Spotlight, January 2023

“Electric Vehicle Competition Heats Up as Supply Chain and Inventory Issues Linger”
Alvarez & Marsal, Monthly Automotive Spotlight, February 2023

“Production Cuts Increase as Chip Shortage and Supply Chain Issues Persist”
Alvarez & Marsal, Monthly Automotive Spotlight, March 2023




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                              Prior Testimony




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                                       PRIOR TESTIMONY

Named Expert:
- FirstEnergy Solutions Corp., et al. – U.S. Bankruptcy Court, Northern District of Ohio
           o   Qualified as Expert, Provided Testimony in Deposition and at Confirmation Hearing
               (2019)
- City of Detroit, Michigan – U.S. Bankruptcy Court, Eastern District of Michigan
           o   Qualified as Expert, Provided Testimony in Deposition and at Trial (2014)
- City of Stockton, California – U.S. Bankruptcy Court, Eastern District of California
           o   Qualified as Expert, Provided Testimony in Deposition and at Trial (2014)
- Munivest - U.S. Bankruptcy Court, Eastern District of Michigan
           o   Named Expert and Published a Report (2012)
- Richard Lewiston - U.S Bankruptcy Court, Eastern District of Michigan
           o   Named Expert (2012)
- General Motors Corporation, et al. v. Weber Automotive Corporation, et al. - U.S. District
  Court, Eastern District of Michigan
           o   Named Expert and Provided Testimony in Deposition (2012)
- Contech - U.S. Bankruptcy Court, Eastern District of Michigan
           o   Named Expert (2011)
- Greektown Holdings, LLC, et al., U.S. Bankruptcy Court, Eastern District of Michigan
           o   Qualified as Expert and Provided Testimony in Multiple Depositions and Adversary
               Proceedings (2008 – 2010)
Fact Witness Testimony:
- The Roman Catholic Diocese of Rockville Centre, New York – U.S. Bankruptcy Court, SD NY
           o   Provided Fact Testimony at Deposition (2023)
- FirstEnergy Solutions Corp. – U.S. Bankruptcy Court, Northern District of Ohio
           o   Provided Fact Testimony at Trial (2018) and Deposition (2019)
- City of Detroit - U.S. Bankruptcy Court, Eastern District of Michigan
           o   Provided Fact Testimony in Multiple Depositions and Eligibility Trial (2013)
- Cynergy Data, LLC - U.S. Bankruptcy Court, District of Delaware
           o   Provided Fact Testimony in Deposition (2011)
- Hastings Manufacturing Company - U.S. Bankruptcy Court, Western District of Michigan
           o   Provided Fact Testimony in Adversary Proceeding Trial (2005)
- Wohlert Corporation - U.S. Bankruptcy Court, Western District of Michigan
           o   Provided Fact Testimony in Adversary Proceeding Trial (2003)
- DCT, Inc. - U.S. Bankruptcy Court, Eastern District of Michigan
           o   Provided Fact Testimony at Trial (2002)



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                                 Exhibit C

                           Materials Considered




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                             MATERIALS CONSIDERED

1. The UCC’s motion to dismiss [Docket 1912]
2. Monthly Operating Reports [Dockets 206, 301, 338, 380, 426, 485, 526, 582, 641, 647,
   718, 742, 762, 811, 889, 949, 970, 992, 1052, 1089, 1137, 1184, 1238, 1295, 1331, 1392,
   1490, 1547, 1624, 1723, 1982]
3.   Register of CVA cases [Adversary Docket 169]
4.   Claims Register for the Diocese’s chapter 11 case as of 4/11/2023
5.   Trial balance as of 2/28/2023 (including sub-ledgers)
6.   Bids received for Spectrum and tower assets
7.   Jefferies retention order
8. Estimate for cost to defend per case included in affidavit filed in support of a motion for a
   stay pending appeal of the Diocese’s motion to dismiss several state court CVA cases
   pending prior to the Diocese’s bankruptcy filing.
9. Historical financial statements (FY14 – FY22)
10. FY2023 budget
11. PSIP insurance letter to parishes
12. Spectrum leases
13. Revised lease rate tables from T-Mobile
14. Debtor’s Plan of Reorganization [Docket 1614] and Disclosure Statement [Docket 1615]
15. UCC’s First Amended Plan of Reorganization [Docket 1643] and Disclosure Statement
    [Docket 1644]
16. Other pleadings filed on the Chapter 11 docket during the case




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